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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                   JONESBORO DIVISION

EVA BROWN,
                                                                            :,AMES . MCCDftllllA     1




     Plaintiff,                                                              By:_   __,,~f--A~~;-;;:-=


v.                                                 CASE NO.: 3:19-cv-~.;r/lJ

HALSTED FINANCIAL SERVICES, LLC,

 Defendant.                                                This case assigned to D i ~ . e ~
___________ ____,:/                                        and to Magistrate Judge  ,    .

                       COMPLAINT AND DEMAND FOR JURY TRIAL

       COMES NOW, Plaintiff, EVA BROWN, by and through the undersigned counsel, and

sues Defendant, HALSTED FINANCIAL SERVICES, LLC, and in support thereof respectfully

alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. ("TCPA").

                                        INTRODUCTION

        1.        The TCPA was enacted to prevent companies like Defendant from invading

American citizens' privacy and to prevent abusive "robo-calls."

        2.        "The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls." Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).

        3.        "Senator Hollings, the TCPA's sponsor, described these calls as 'the scourge of

modern civilization, they wake us up in the morning; they interrupt our dinner at night; they

force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the

wall.' 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

subscribers another option: telling the auto-dialers to simply stop calling." Osorio v. State Farm

Bank, F.S.B., 746 F. 3d 1242, 1256 (11 th Cir. 2014).
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       4.       According to the Federal Communications Commission (FCC), "Unwanted calls

and texts are the number one complaint to the FCC. There are thousands of complaints to the

FCC every month on both telemarketing and robocalls. The FCC received more than 215,000

TCPA complaints in 2014." Fact Sheet: Wheeler Proposal to Protect and Empower Consumers

Agairzst Unwanted Robocalls, Texts to Wireless Phones, Federal Communications Commission,

(May 27, 2015), https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676Al .pdf.

                                 JURISDICTION AND VENUE

        5.      Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

        6.      Subject matter jurisdiction, federal question jurisdiction, for purposes of this

action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts

shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

of the United States; and this action involves violations of 47 U.S.C. § 227(b)(l)(A)(iii). See

Mims v. Arrow Fin. Servs., UC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,

746 F.3d 1242, 1249(11 th Cir. 2014).

       7.       The alleged violations described herein occurred in Crittenden County, Arkansas.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is the

judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.

                                  FACTUAL ALLEGATIONS

       8.       Plaintiff is a natural person, and citizen of the State of Arkansas, residing in

Crittenden County.




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        9.        Plaintiff is the "called party." See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265(11 th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11 th Cir. 2014).

        10.       Defendant is a corporation which was formed in Illinois with its principal place of

business located at 8001 N. Lincoln Avenue, #LL2, Skokie, Illinois 60077 and which conducts

business in the State of Arkansas.

        11.       Defendant called Plaintiff approximately one hundred (100) times in an attempt to

collect a debt.

        12.       Upon receipt of the calls from Defendant, Plaintiffs caller ID identified the calls

as being initiated from, but not limited to, the following telephone numbers: (501) 386-4189;

(501) 232-7947; and (501) 232-8750.

        13.       Defendant intentionally harassed and abused Plaintiff on numerous occasions by

calling several times during one day, and on back-to-back days, with such frequency as can

reasonably be expected to harass.

        14.       Upon information and belief, some or all of the calls Defendant made to

Plaintiffs cellular telephone number were made using an "automatic telephone dialing system"

which has the capacity to store or produce telephone numbers to be called, using a random or

sequential number generator (including but not limited to a predictive dialer) or an artificial or

prerecorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(l) (hereinafter

"auto-dialer calls"). Plaintiff will testify that she knew it was an auto-dialer because of the vast

number of calls she received and because she heard a pause when she answered her telephone

before a voice came on the line.

        15.       Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (870) ***-3106, and was the called party and recipient of Defendant's calls.


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        16.      Defendant placed an exorbitant number of automated calls to Plaintiff's cellular

telephone (870) ***-3106 in an attempt to collect on a consumer debt.

        17.      On several occasions over the last four (4) years, Plaintiff instructed Defendant's

agent(s) to stop calling her cellular telephone.

        18.      In or about August 2018, Plaintiff communicated with Defendant from her

aforementioned cellular telephone number and instructed Defendant's agent to cease calling.

        19.      Each subsequent call Defendant made to Plaintiff's aforementioned cellular

telephone number was knowing and willful and done without the "express consent" of Plaintiff.

       20.       Despite clearly and unequivocally revoking any consent Defendant may have

believed they had to call Plaintiff on her cellular telephone, Defendant continued to place

automated calls to Plaintiff.

       21.       Again, in or about October 2018, Plaintiff answered a call from Defendant to her

aforementioned cellular telephone number. Plaintiff spoke to an agent/representative of

Defendant and informed the agent/representative that the calls to her cellular telephone were

harassing and demanded that they cease calling her cellular telephone number.

       22.       Plaintiff's numerous conversations with Defendant's agents/representatives over

the telephone wherein she demanded a cessation of calls were in vain as Defendant continued to

bombard her with automated calls unabated.

       23.       Defendant intentionally harassed and abused Plaintiff on numerous occasions by

calling several times during one day, and on back-to-back days, with such frequency as can be

reasonably expected to harass.




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        24.      Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice to individuals just as they did to Plaintiff's cellular telephone in

this case.

        25.      Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice, just as they did to the Plaintiff's cellular telephone in this case,

with no way for the consumer, or Defendant, to remove the number.

        26.      Defendant's corporate policy is structured so as to continue to call individuals like

Plaintiff, despite these individuals explaining to Defendant they do not wish to be called.

        27.      Defendant has numerous other federal lawsuits pending against them alleging

similar violations as stated in this Complaint.

        28.      Defendant has numerous complaints against it across the country asserting that its

automatic telephone dialing system continues to call despite being requested to stop.

        29.      Defendant has had numerous complaints against it from consumers across the

country asking to not be called, however Defendant continues to call these individuals.

        30.      Defendant's corporate policy provided no means for Plaintiff to have Plaintiff's

number removed from Defendant call list.

        31.      Defendant has a corporate policy to harass and abuse individuals despite actual

knowledge the called parties do not wish to be called.

        32.      Not one of Defendant's telephone calls placed to Plaintiff were for "emergency

purposes" as specified in 47 U.S.C. § 227(b)(l)(A).

        33.      Defendant willfully and/or knowingly violated the TCPA with respect to Plaintiff.




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       34.      From each and every call placed without express consent by Defendant to

Plaintiffs cellular telephone, Plaintiff suffered the injury of invasion of privacy and the intrusion

upon her right of seclusion.

       35.      From each and every call without express consent placed by Defendant to

Plaintiff's cellular telephone, Plaintiff suffered the injury of the occupation of her cellular

telephone line and cellular telephone by unwelcome calls, making the telephone unavailable for

legitimate callers or outgoing calls while the telephone was ringing from Defendant's call.

       36.      From each and every call placed without express consent by Defendant to

Plaintiff's cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of her time.

For calls she answered, the time she spent on the call was unnecessary as she repeatedly asked

for the calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the

telephone and deal with missed call notifications and call logs that reflect the unwanted calls.

This also impaired the usefulness of these features of Plaintiffs cellular telephone, which are

designed to inform the user of important missed communications.

       37.      Each and every call placed without express consent by Defendant to Plaintiffs

cellular telephone was an injury in the form of a nuisance and annoyance to the Plaintiff. For

calls that were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even

for unanswered calls, Plaintiff had to waste time to unlock the telephone and deal with missed

call notifications and call logs that reflected the unwanted calls. This also impaired the

usefulness of these features of Plaintiff's cellular telephone, which are designed to inform the

user of important missed communications.




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        38.      Each and every call placed without express consent by Defendant to Plaintiff's

cellular telephone resulted in the injury of unnecessary expenditure of Plaintiff's cellular

telephone's battery power.

        39.      Each and every call placed without express consent by Defendant to Plaintiff's

cellular telephone where a voice message was left occupied space in Plaintiff's telephone or

network.

        40.      Each and every call placed without express consent· by Defendant to Plaintiff's

cellular telephone resulted in the injury of a trespass to Plaintiff's chattel, namely her cellular

telephone and her cellular telephone services.

        41.      As a result of the calls described above, Plaintiff suffered an invasion of privacy.

Plaintiff was also affected in a personal and individualized way by stress, anxiety, nervousness,

embarrassment, distress and aggravation.

                                             COUNTI
                                      (Violation of the TCPA)

        42.      Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty one

(41) as if fully set forth herein.

        43.      Defendant willfully violated the TCPA with respect to Plaintiff, specifically for

each of the auto-dialer calls made to Plaintiff's cellular telephone after Plaintiff notified

Defendant that Plaintiff wished for the calls to stop.

        44.      Defendant repeatedly placed non-emergency telephone calls to Plaintiff's cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without

Plaintiff's prior express consent in violation of federal law, including 47 U.S.C §

227(b)(1 )(A)(iii).



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'   ..   .

                    WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

             judgment against Defendant for statutory damages, punitive damages, actual damages, treble

             damages, enjoinder from further violations of these parts and any other such relief the court may

             deem just and proper.

                                                        Respectfully submitted,

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